




Dismissed and Memorandum Opinion filed March 26, 2009








Dismissed
and Memorandum Opinion filed March 26, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00122-CV

____________

&nbsp;

M-I L.L.C., Appellant

&nbsp;

V.

&nbsp;

MELVIN DAVID GAZLOFF, Appellee

&nbsp;



&nbsp;

On Appeal from the
280th District Court

Harris County,
Texas

Trial Court Cause
No. 2008-33429

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from an order signed January 9, 2009.&nbsp; On February 20, 2009, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Panel consists of Justices Yates, Guzman, and Sullivan. 





